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                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK

LYLE W. CAYCE                                                    TEL. 504-310-7700
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                            January 14, 2025


Mr. Philip Devlin
Western District of Texas, Austin
United States District Court
501 W. 5th Street
Austin, TX 78701-0000

      No. 23-50491     Career Colleges v. EDUC
                       USDC No. 1:23-CV-433


Dear Mr. Devlin,
Enclosed is a copy of the Supreme Court order granting certiorari
limited to Question 1 presented by the petition.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk


                                  By: _________________________
                                  Sean Hannan, Deputy Clerk
